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                                                                                          FILED
                                                                                       April 29, 2025
                                                                                   CLERK, U.S. DISTRICT COURT
                           UNITED STATES DISTRICT COURT                            WESTERN DISTRICT OF TEXAS
                         FOR THE WESTERN DISTRICT OF TEXAS                                       sec
                                                                                BY: ________________________________
                                  AUSTIN DIVISION                                                       DEPUTY

 BERNHARDT TIEDE, II;                                  §
 TEXAS PRISONS COMMUNITY                               §
 ADVOCATES; TEXAS CITIZENS UNITED                      §
 FOR REHABILITATION OF ERRANTS;                        §
 BUILD UP, INC. a/k/a LIONESS: JUSTICE                 §
 IMPACTED WOMEN'S ALLIANCE; and                        §
 COALITION FOR TEXANS WITH                             §
 DISABILITIES,                                         §
                                                       §     Civil Action No.: 1:23-cv-01004-RP
                 Plaintiffs,                           §
 V.                                                    §
                                                       §
 BRYAN COLLIER, in his official capacity as            §
 Executive Director of Texas Department of             §
 Criminal Justice,                                     §
                                                       §
                 Defendant.

     AGREED SCHEDULING ORDER WITH REQUEST FOR STATUS CONFERENCE


        Pursuant to Federal Rule of Civil Procedure 16, the following Agreed Scheduling Order is

issued by the Court:

1.      A report on alternative dispute resolution in compliance with Local Rule CV-88 shall be

        filed on or before August 15, 2025.

2.      Plaintiffs shall submit a written offer of settlement to Mr. Collier on or before August 15,

        2025, and Mr. Collier shall respond in writing, on or before September 15, 2025. All offers

        of settlement are to be private, not filed. The parties are ordered to retain the written offers

        of settlement and responses so the Court may use them in assessing attorney's fees and costs

        at the conclusion of the trial.

3.      The ''Notice Concerning Reference to United States Magistrate Judge" was filed on

        February 15, 2024. [ECF 36.]
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4.   Plaintiffs shall file their designation of testifying experts and serve on all parties, but not file,

     the materials required by Federal Rule of Civil Procedure 26(a)(2)(B) on or before August

     15, 2025. Mr. Collier shall file his designation of testifying experts and serve on all parties,

     but not file, the materials required by Federal Rule of Civil Procedure 26(a)(2)(B) on or

     before September 15, 2025. Plaintiffs shall file their designation of rebuttal experts and

     serve on all parties, but not file, the material required by Federal Rule of Civil Procedure

     26(a)(2)(B) for such rebuttal experts by October 1, 2025.

5.   An objection to the reliability of an expert's proposed testimony under Federal Rule of

     Evidence 702 shall be made by motion, specifically stating the basis for the objection and

     identifying the objectionable testimony, within 14 days from the receipt of the written report

     of the expert's proposed testimony, or within 21 days from the completion of the expert's

     deposition, if a deposition is taken, whichever is later.

6.   The parties shall complete all discovery on or before October 17, 2025.

7.   All dispositive motions shall be filed on or before November 21, 2025 and shall be limited

     to 25 pages. Responses shall be filed and served on all other parties not later than 14 days after

     the service of the motion and shall be limited to 25 pages. Any replies shall be filed and served

     on all other parties not later than 7 days after the service of the response and shall be limited

     to 10 pages, but the Court need not wait for the reply before ruling on the motion.

8.   Plaintiffs Position:

     The Court will set a final pretrial conference on or before November 14, 2025.

     Defendants' Position:

     The Court will set a final pretrial conference on or before January 12, 2026.
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 The final pretrial conference shall be attended by at least one of the attorneys who will conduct
the trial for each of the parties and by any unrepresented parties. The parties should consult Local
Rule CV-16(e) regarding matters to be filed in advance ofthe final pretrial conference. The parties
shall not complete the following paragraph. It will be completed by the Court at the initial
pretrial conference to be scheduled by the Court.
9.      T his case is set for Jury trial commencing at 9:30 a.m. on March 30 , 2026




        Jury selection may be conducted by a United States Magistrate Judge the Friday

       before the case is set for trial. Given that (1) many cases resolve before trial and (2)

       the Austin Division has only one active district court judge, the Court may set a

       criminal case and several civil cases for the same trial week. The Court recognizes

       the inconvenience this may cause counsel and parties if a trial is moved shortly

       before the trial date, but the Court must balance that inconvenience with its

       need to effectively deploy limited judicial resources.

         The parties may modify the deadlines in this Order by agreement, with the exception of the

 dispositive motions deadline and the trial date. Those dates are firm. The Court may impose

sanctions under Federal Rule of Civil Procedure 16(f) if the parties do not make timely submissions

 under this Order. For cases brought pursuant to the Freedom of Information Act (FOIA), the

 parties may instead follow the standard disclosure process and will have an initial pretrial conference

 only by request.

         The parties request a status conference to discuss (i) the timing, length, and scope of the

 Permanent Injunction Hearing; and (ii) whether testimony and evidence presented in conjunction

 with Plaintiffs' Emergency Motion for Preliminary Injunction and Request for Expedited Briefing
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(ECF 50) will need to be presented and submitted again at or before the Permanent Injunction

Hearing.

              SIGNED on _-----L..JA...,.p..... J 2..._9L..._______,, 20_2-5 __
                                          ri...._




                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT filDGE
